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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

BIOSONIX, LLC,                                 §
                                               §
       Plaintiff,                              §       CIVIL ACTION No. 4:16-cv-139
                                               §
v.                                             §       JUDGE RON CLARK
                                               §
HYDROWAVE, LLC,                                §       PRD
T-H MARINE SUPPLIES, INC., and                 §
RHP INDUSTRIES, LLC,                           §
                                               §
       Defendants.                             §

                                  ORDER OF DISMISSAL

       Plaintiff Biosonix, LLC (“Biosonix”) and Defendants Hydrowave, LLC, RHP Industries,

LLC, and T-H Marine Supplies, Inc. (“Defendants”), have jointly filed a stipulation of dismissal

(Dkt. # 88).   The parties have reached a settlement and agreed to dismiss all claims and

counterclaims between them with prejudice.

       IT IS THEREFORE ORDERED that all claims between Biosonix and are DISMISSED

WITH PREJUDICE, with each party to bear its own fees and costs.

       The Clerk is directed to CLOSE this case.

        So Ordered and Signed
        Feb 22, 2017




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